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     Attorneys for Plaintiff
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE DISTRICT OF ARIZONA
 9
10   United States of America,                                      No. 20-8217MJ
11                         Plaintiff,
                                                                  NOTICE OF
12            vs.                                          ASSOCIATION OF COUNSEL
13   Jill Marie Jones,
14                         Defendant.
15          NOTICE is hereby given, in accordance with Local Rule 1.7(a) of the Rules of
16   Practice for the U.S. District Court for the District of Arizona, that Assistant United States
17   Attorney David A. Pimsner is associated as counsel in the above referenced matter for the
18   United States.
19          Respectfully submitted this 7th day of October, 2020.
20
                                                MICHAEL BAILEY
21                                              United States Attorney
22                                              District of Arizona

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24
                                                DAVID A. PIMSNER
25                                              Assistant U.S. Attorney
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 1                                    Certificate of Service

 2   I hereby certify that on this 7th day of October, 2020, I electronically transmitted the
     attached document to the Clerk's Office using the CM/ECF System for filing and
 3   transmittal of a Notice of Electronic Filing to the CM/ECF registrants in this case.
 4
     Jamie Johnson
 5
 6
     s/ Norma Hernandez
 7   U.S. Attorney’s Office
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